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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

___________________________________
                                   )
UNITED STATES OF AMERICA,          )
                                   )
                                   )               Criminal Action
          v.                       )               No. 13-10332-PBS
                                   )
SIHAI CHENG,                       )
                                   )
                    Defendant.     )
___________________________________)


                         MEMORANDUM AND ORDER

                             July 18, 2019

Saris, C.J.

     Sihai Cheng has moved under 28 U.S.C. § 2255 to vacate the

nine-year term of imprisonment imposed after he pleaded guilty to

six counts of a ten-count indictment relating to his illicit

scheme to export pressure transducers, highly sensitive goods

with nuclear applications, from the United States to Iran through

China. After review of the briefing and the record, the Court

ALLOWS IN PART and DENIES IN PART Cheng’s motion to amend (Docket

No. 185) and DENIES Cheng’s motion to vacate his sentence (Docket

No. 146).

                 FACTUAL AND PROCEDURAL BACKGROUND

     Cheng is a citizen of the People’s Republic of China. On

November 21, 2013, he and three co-conspirators (an Iranian

national named Seyed Abolfazl Shahab Jamili; Nicaro Engineering

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Co., Jamili’s Iranian company; and an Iranian company called

Eyvaz Technic Manufacturing Company) were charged in a ten-count

indictment with the illegal export of pressure transducers

manufactured by MKS Instruments, Inc., a Massachusetts

corporation, from the United States to Iran between 2009 and

2012. MKS pressure transducers can be used in gas centrifuges to

produce weapons-grade uranium. The indictment charged Cheng with

conspiracy to commit export violations in violation of 50 U.S.C.

§ 1705 (Count I), conspiracy to commit smuggling violations under

18 U.S.C. § 554(a) in violation of 18 U.S.C. § 371 (Count II),

unlawful exports of U.S. goods to Iran on four occasions between

April and August 2009 in violation of 50 U.S.C. § 1705 (Counts

III-VI), and smuggling of U.S. goods to Iran on the same four

occasions in violation of 18 U.S.C. § 554 (Counts VII-X).

     Cheng served as the middleman in the scheme: He coordinated

shipments from the United States, received them in China, and

then sent them to Iran. He knew Kalaye Electronic Company, which

the United States had designated as a nuclear weapons

proliferator, was the end user of the pressure transducers. He

also knew exporting the transducers from the United States to

Iran was illegal, so he removed their serial numbers to hide

their origin. He and his co-conspirators lied about the end users

to secure export licenses to ship the goods to China.



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     After Cheng’s arrest in the United Kingdom and his

extradition to the United States, the Court held an initial

status conference on June 9, 2015. The Court asked the Government

to provide a memorandum addressing whether it had

extraterritorial jurisdiction to convict Cheng for conduct in

China. The Government informed the Court that Cheng could be

prosecuted in a U.S. court pursuant to the First Circuit’s

decision in United States v. McKeeve, 131 F.3d 1 (1st Cir. 1997),

because his conspiracy involved pressure transducers exported

from Massachusetts. Cheng’s attorney, Stephen Weymouth, did not

respond to the Government’s memorandum.

     On December 18, 2015, Cheng pleaded guilty to Counts I

through VI of the indictment. At the Rule 11 hearing, Cheng said

he was satisfied with Weymouth’s representation and Weymouth had

not pressured him into pleading guilty. Besides explaining that

he stopped selling pressure transducers in 2011, not 2012 as

stated in the indictment, he agreed with the factual basis for

the charges as just described. He specifically admitted he knew

exporting the pressure transducers was illegal under U.S. law.

Because of the nature of the crime, the Court recognized that

evidence about Iran’s nuclear program would be a significant

issue at sentencing in determining whether a terrorism

enhancement or upward departure was appropriate.



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     Cheng also stated during the colloquy that he suffered from

“mania.” Dkt. No. 76 at 7:11-15. Weymouth explained that he had

reviewed Cheng’s Chinese psychiatric records, which called him

“manic” with “racing thoughts” and an “inability to sleep.” Id.

at 8:2-13. The Court suggested Weymouth submit the records at the

sentencing hearing to support an argument for diminished capacity

or a variance based on his mental health. The Court authorized

money to interpret the records for this purpose.

     The Pre-Sentence Report (“PSR”) discussed Cheng’s mental

health at length. He was hospitalized twice in China, once in

1999 and again in 2012. During his 1999 hospitalization, he was

diagnosed with mania and prescribed medication. 1 He took the

medication until 2003 but stopped due to negative side effects.

In addition to his mania, he began having delusions of grandeur

in 1999 and experienced suicidal thoughts in the early 2000s and

in 2012. Cheng reported that his condition improved significantly

after his 2012 hospitalization. Nevertheless, after his arrest,

he experienced racing thoughts, vivid dreams and lack of sleep

due to “noise” in his brain. While in custody at Wyatt Detention

Facility, he had monthly mental health counseling sessions and

took melatonin to aid in sleeping. Documentation from Wyatt




1    According to Cheng’s affidavit and translated medical
records, these medications included clozapine and lithium
carbonate.
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suggested a diagnosis of “a mood disorder and possible bipolar

disorder.” PSR ¶ 91.

     On January 27, 2016, the Court held an all-day sentencing

hearing. The Government called David Albright, the president of a

nongovernmental organization that conducts research on nuclear

nonproliferation, to testify in support of a terrorism

enhancement and upward departure under Application Note 2 to

U.S.S.G. § 2M5.1 (evasion of export controls). Albright worked in

the field since 1981, wrote hundreds of peer-reviewed articles

and five books, and personally studied Iran’s nuclear program for

over twenty years. His organization conducted significant

research on Iran’s nuclear program and was the first to identify

the Natanz Fuel Enrichment Plant as a gas centrifuge facility.

     Albright testified that Iran began to develop a program to

create weapons-grade uranium in 1985. It used gas centrifuges

located at Natanz and the Fordow Fuel Enrichment Plant to conduct

enrichment. Kalaye Electric Company operated the Fordow plant and

acquired equipment and materials overseas to develop and design

gas centrifuges. Fordow was used for enrichment at least until it

was discovered in September 2009, after Cheng made four shipments

of pressure transducers to Iran.

     Having studied illegal procurement networks, Albright called

Cheng’s role in the conspiracy “critical” and the scheme “very

sophisticated.” Dkt. No. 104 at 39:23-40:5, 44:22-45:6. Finally,

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he opined that Cheng’s conduct put the United States at a

strategic disadvantage during negotiations with Iran over its

nuclear program: Cheng was supplying Iran with tools to

manufacture more centrifuges just as the United States was trying

to get Iran to agree to reduce the number of centrifuges.

     Weymouth cross-examined Albright about his qualifications,

the basis of his opinions, and the timing of Iran nuclear

program. Albright admitted he was a mathematician and physicist

by education and his opinion relied only on publicly available

documents and statements from others. Weymouth emphasized

Albright’s testimony that he could only say that the weapons-

grade enrichment at Fordow continued until 2009, and he pointed

out that, according to assessments of Iran’s nuclear program from

2009 to 2013, Iran had never made enough weapon-grade uranium for

even one nuclear weapon. Albright also admitted that pressure

transducers have nonnuclear and nonmilitary purposes. Weymouth

did not put on an expert witness to counter Albright’s testimony,

but he said he had spent dozens of hours over four weeks

preparing for the cross-examination.

     The Court next heard argument on calculation of the

guidelines range. The Government sought, and Weymouth opposed, a

four-level aggravating role adjustment as an organizer under

U.S.S.G. § 3B1.1(a), a terrorism enhancement under U.S.S.G.

§ 3A1.4, and an upward departure under Application Note 2 to

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U.S.S.G. § 2M5.1. Although Weymouth sought a minor-role

adjustment in his sentencing memorandum, he conceded at the

hearing that it did not apply. The Court rejected the aggravating

role adjustment and terrorism enhancement, which the Government

never properly sought, but decided to upwardly depart by six

levels under Application Note 2 to U.S.S.G. § 2M5.1 because

Cheng’s scheme posed a serious threat to national security,

involved a substantial volume of commerce and number of

occurrences, and was highly sophisticated. With the upward

departure, the Court found a total offense level of 29. Cheng had

a criminal history category of I, so his guidelines range was 87

to 108 months.

     The Court then heard argument on the appropriate sentence.

Requesting a term of imprisonment of fifteen years, the

Government emphasized the national security threat Cheng’s

conduct posed to the United States, the sophistication of the

scheme, the quantity and number of shipments of pressure

transducers sent to Iran, and Cheng’s knowledge of its

illegality. Weymouth argued for a twenty-four-month sentence

because other defendants in similar cases received short

sentences and Cheng did not knowingly support Iran’s nuclear

weapons program, had no exposure to the United States or its

laws, executed his scheme solely for personal gain, and did not

need to be specifically deterred.

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     The Court asked about Cheng’s Chinese mental health records.

Weymouth did not submit translations of the records, but Cheng

and an interpreter had translated them for him. Weymouth said

that the records showed Cheng suffers from “mania” and argued

that, while Cheng was competent to stand trial and criminally

responsible, his mania and “racing thoughts” likely influenced

his decision to participate in the scheme. Cheng then had a

lengthy allocution. Among other things, he mentioned his two

hospitalizations in China for “mania” and his diagnosis of

Hepatitis B in 1999.

     The Court sentenced Cheng to a term of imprisonment of nine

years. Citing the factors under 18 U.S.C. § 3553(a), the Court

emphasized the need for general deterrence, and Cheng’s pecuniary

motivation for the crime. The Court also recognized that his

mental health problems might explain some of his statements (like

“f--- the United States”) but added it did not have much of a

record on the issue of mental health. The Court also noted the

sentence was consistent with United States v. Khazaee, a similar

case from Connecticut raised by the Government in its sentencing

memorandum. The Court issued a memorandum memorializing the

reasons for its guidelines calculations and its sentence on

February 1.

     The First Circuit affirmed Cheng’s nine-year sentence on

March 1, 2017. United States v. Cheng, 849 F.3d 516, 517 (1st

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Cir. 2017). The First Circuit determined that the Court did not

err in its upward departure under Application Note 2 to U.S.S.G.

§ 2M5.1 or its balancing of the sentencing factors and that

Cheng’s sentence was not disproportionate to sentences in similar

case. Id. at 518-21.

     On April 10, 2017, Cheng filed a pro se motion to vacate his

sentence under 28 U.S.C. § 2255. After securing counsel, Cheng

filed an amended motion on April 5, 2018. In this motion, Cheng

argues that Weymouth provided ineffective assistance of counsel

in the following ways: 1) failure to translate and use his

Chinese mental health records to support a mitigation argument or

a departure under U.S.S.G. § 5H1.3 (mental and emotional

conditions); 2) failure to call an expert on Iran to counter the

testimony of David Albright; 3) failure to challenge the exercise

of extraterritorial jurisdiction; 4) failure to challenge the

Government’s evidence that Cheng acted willfully; 5) failure to

object to the use of Application Note 2 to U.S.S.G. § 2M5.1;

6) conceding that Cheng did not play a minor role in the

conspiracy; and 7) a lack of trust in the attorney-client

relationship.

     On July 27, 2018, Cheng moved to amend his amended petition.

In his motion, he withdraws his claim regarding a lack of trust

with Weymouth. He also seeks to add the following ineffective

assistance of counsel claims: 1) failure to move to dismiss based

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on insufficiency of the indictment; 2) failure to distinguish

United States v. Khazaee at sentencing; and 3) failure to use his

medical records to argue for diminished capacity under U.S.S.G. §

5K2.13. Finally, he contends that his prosecution for

extraterritorial conduct violated due process.

                                 DISCUSSION

I.     Motion to Amend

       A.   Legal Standard

       A defendant must move to vacate his conviction or sentence

within one year of “the date on which the judgment of conviction

becomes final.” 28 U.S.C. § 2255(f)(1). Where the defendant

challenges his conviction or sentence before the court of appeals

but does not to seek review in the Supreme Court, the “judgment

of conviction becomes final when the time expires for filing a

petition for certiorari.” Ramos-Martínez v. United States, 638

F.3d 315, 320-21 (1st Cir. 2011) (quoting Clay v. United States,

537 U.S. 522, 525 (2003)). Parties have ninety days after entry

of the judgment in the court of appeals to file a petition for

certiorari. See Sup. Ct. R. 13.1; Ramos-Martínez, 638 F.3d at

321.

       Federal Rule of Civil Procedure 15 governs amendments to

§ 2255 motions. United States v. Ciampi, 419 F.3d 20, 23 (1st

Cir. 2005). Rule 15(c)(1)(B) permits an amendment to “relate

back” to the date of the original pleading for purposes of

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evaluating a statute of limitations if “the amendment asserts a

claim . . . that arose out of the conduct, transaction, or

occurrence set out -- or attempted to be set out -- in the

original pleading.” For § 2255 motions, this provision “is to be

strictly construed, in light of Congress’ decision to expedite

collateral attacks by placing stringent time restrictions on

them.” Ciampi, 419 F.3d at 23 (cleaned up). Thus, relation back

is permitted for amendments to § 2255 motions only where the

amended claims “arise from the ‘same core facts’” as the timely

claims and do “not depend upon events which are separate both in

time and type from the events upon which the original claims

depended.” Id. at 24 (quoting Mayle v. Felix, 545 U.S. 644, 657

(2005)). For example, a defendant “does not satisfy the Rule

15 ‘relation back’ standard merely by raising some type of

ineffective assistance in the original petition, and then

amending the petition to assert another ineffective assistance

claim based upon an entirely distinct type of attorney

misfeasance.” Id.

     B.   Analysis

     The First Circuit entered judgment affirming Cheng’s

conviction on March 1, 2017. His conviction became final on May

30, 2017 when the ninety days to file a petition for certiorari

expired. Because he did not move to amend his § 2255 petition

until July 27, 2018, any new claims raised in his motion to amend

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fall outside the one-year statute of limitations, unless they

relate back to his April 5, 2018 motion. The Government seeks to

exclude three ineffective assistance claims in Cheng’s motion to

amend as untimely: 1) failure to move to dismiss on the basis of

an insufficient indictment; 2) failure to distinguish United

States v. Khazaee at sentencing; and 3) failure to argue at

sentencing for mitigation under U.S.S.G. § 5K2.13 (diminished

capacity).

     Cheng’s claim that Weymouth was ineffective by failing to

move to dismiss based on the insufficiency of the indictment is

untimely. Nowhere in the April 2018 motion does he raise any

challenge to the indictment’s contents. He argues this claim

arises from the same facts as his timely claim that Weymouth was

ineffective in failing to argue he had insufficient notice of his

criminal liability. This timely claim, however, concerns the

distinct question of his contacts with the United States and

understanding of the American legal system.

     The second and third new claims are not time-barred. While

Cheng did not specifically mention Khazaee in his April 2018

motion, he made arguments of ineffective assistance concerning

calculation of the guidelines range, departures from that range,

and his role in the offense that are similar to the arguments he

contends Weymouth should have made to distinguish Khazaee. His

claim that Weymouth was ineffective for not seeking a diminished

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capacity departure at sentencing relates back to his timely

argument that Weymouth should have translated his mental health

records and used them more thoroughly at sentencing.

II.   Remaining § 2255 Claims

      A.   Standard of Review

      A federal criminal defendant “may petition for post-

conviction relief under 28 U.S.C. § 2255(a) if, inter alia, the

individual’s sentence ‘was imposed in violation of the

Constitution or laws of the United States’ or ‘is otherwise

subject to collateral attack.’” Lassend v. United States, 898

F.3d 115, 122 (1st Cir. 2018) (quoting 28 U.S.C. § 2255(a)).

Claims of ineffective assistance of counsel are cognizable on a

§ 2255 motion. Rivera-Rivera v. United States, 844 F.3d 367, 372

(1st Cir. 2016). The defendant bears the burden of establishing

his entitlement to relief. Lassend, 898 F.3d at 122.

       “Evidentiary hearings on § 2255 petitions are the

exception, not the norm,” and the defendant bears “a heavy

burden . . . to demonstrate that an evidentiary hearing is

warranted.” Moreno-Morales v. United States, 334 F.3d 140, 145

(1st Cir. 2003). A court need not hold an evidentiary hearing if

the petition “(1) is inadequate on its face, or (2) although

facially adequate, is conclusively refuted as to the alleged

facts by the files and records of the case.” Id. (quoting United

States v. DiCarlo, 575 F.2d 952, 954 (1st Cir. 1978)). Because

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the record in this case demonstrates that all of Cheng’s claims

lack merit, the Court declines to hold an evidentiary hearing.

     B.   Inadequate Nexus to the United States

     Cheng argues his prosecution was invalid because his conduct

lacked a connection to the United States. Although he stylizes

his argument as one about subject matter and personal

jurisdiction, his claim appears to be a due process challenge to

his prosecution on the basis of an inadequate nexus between his

conduct and the United States. He notes he is a foreign citizen

who never entered or bought anything directly from the United

States, his involvement with the transducers occurred after they

left the country, and he did not willfully cause any harmful

effects in the United States. He also contends the statutes under

which he was convicted do not apply extraterritorially and he had

insufficient notice of his potential criminal liability.

     Cheng’s argument that his prosecution violated due process

because he lacked a “sufficient nexus” to the United States is

meritless. The First Circuit has rejected the Ninth Circuit’s

holding in United States v. Davis, 905 F.2d 245 (9th Cir. 1990),

that due process requires a “sufficient nexus” between the

criminal conduct and the United States. See United States v.

Cardales, 168 F.3d 548, 552-53 (1st Cir. 1999). Instead,

application of a criminal statute to extraterritorial conduct

satisfies due process as long as it is not “arbitrary or

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fundamentally unfair.” Id. at 553. Courts look to international

law to determine if due process is satisfied. Id. “Under the

‘protective principle’ of international law, a nation is

permitted ‘to assert jurisdiction over a person whose conduct

outside the nation’s territory threatens the nation’s security.’”

Id. (quoting United States v. Robinson, 843 F.2d 1, 3 (1st Cir.

1988)). As the Court determined at sentencing, exporting pressure

transducers that can be used to develop nuclear weapons to Iran

threatens the security of the United States. This prosecution

fits within the protective principle and, because it comports

with international law, does not violate due process.

     In addition to satisfying due process, Cheng’s convictions

represent permissible domestic applications of the statutes

involved and therefore do not raise extraterritoriality concerns.

Under the International Emergency Economic Powers Act (“IEEPA”),

the president may “prohibit . . . exportation of . . . any

property in which any foreign country or a national thereof has

any interest by any person, or with respect to any property,

subject to the jurisdiction of the United States.” 50 U.S.C.

§ 1702(a)(1)(B). The IEEPA applies when either the exporter or

the property at issue is subject to the jurisdiction of the

United States. See McKeeve, 131 F.3d at 10-11.

     Cheng exported pressure transducers that were subject to the

jurisdiction of the United States because they came from

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Massachusetts. See id. at 11. In Cheng’s case, the focus of the

conduct the IEEPA regulates is the exporting of property out of

the United States to Iran. See WesternGeco LLC v. ION Geophysical

Corp., 138 S. Ct. 2129, 2137 (2018) (“The focus of a statute is

the object of its solicitude, which can include the conduct it

seeks to regulate . . . .” (cleaned up)). Because “the conduct

relevant to the statute’s focus occurred in the United States,”

Cheng’s substantive convictions for violating the IEEPA

constitute “a permissible domestic application” even though other

conduct occurred abroad. RJR Nabisco, Inc. v. Euro. Cmty., 136 S.

Ct. 2090, 2101 (2016).

     Cheng’s argument fares no better for his conspiracy

convictions. In McKeeve, the First Circuit rejected the argument

that an individual can conspire to violate the IEEPA only if he

sets foot in the United States during the conspiracy. 131 F.3d at

10-11. Because the IEEPA applies to property subject to the

jurisdiction of the United States, an individual outside the

United States conspires to violate the IEEPA as long as he “knew

the locus” of the goods and “knew that U.S. law prohibit[s] its

export to” the country in question. Id. at 11. Prosecution for

such conspiracy does not involve an extraterritorial application

of the statute. See id. at 10-11. Cheng’s conviction falls neatly

within the holding of McKeeve because he admitted at the Rule 11

hearing that he knew 1) the pressure transducers came from the

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United States and 2) export of the transducers to Iran violated

U.S. law. It is therefore irrelevant that Cheng himself did not

export goods from the United States but instead coordinated his

shipments through MKS Shanghai. To the extent an overt act with

the United States is required, MKS Shanghai sent an order for the

pressure transducers to MKS in Massachusetts. See id. at 11.

     Although McKeeve involved only conspiracy to violate the

IEEPA, the same logic renders Cheng’s conviction for conspiracy

to violate 18 U.S.C. § 554(a) valid. That statute imposes

criminal liability on “[w]hoever fraudulently or knowingly

exports or sends from the United States . . . any merchandise,

article, or object contrary to any law or regulation of the

United States.” 18 U.S.C. § 554(a). Cheng entered into a

conspiracy with the intent to export goods he knew came from the

United States with the understanding that doing so was a

violation of U.S. law, and the ordering of the pressure

transducers in Massachusetts constituted an overt act in

furtherance of the conspiracy. See McKeeve, 131 F.3d at 11

(explaining “that a conspiracy occurring partly within the United

States is prosecutable without resort to any theory of

extraterritorial jurisdiction” (quoting United States v. Inco

Bank & Tr. Corp., 845 F.2d 919, 920 n.4 (11th Cir. 1988) (per

curiam))).



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     Finally, Cheng contends his prosecution violated due process

because he had inadequate notice of his potential criminal

liability. When his argument is read most charitably, he appears

to claim he could not have reasonably anticipated being

prosecuted in the United States. See, e.g., United States v. Ali,

718 F.3d 929, 944 (D.C. Cir. 2013). The record belies this

notion, as he admitted at the Rule 11 hearing that he knew his

scheme violated U.S. law. Cheng’s post hoc claim to the contrary

holds little weight. See United States v. Santiago Miranda, 654

F.3d 130, 138 (1st Cir. 2011). In fact, in multiple online chats

he exchanged with Jamili during the conspiracy, he demonstrated

his understanding of the illegality of his conduct. His knowledge

that his conduct violated U.S. law put him on sufficient notice

of his potential criminal liability to satisfy due process.

     C.   Ineffective Assistance of Counsel

          1.    Legal Standard

     “To prevail on an ineffective assistance of counsel claim,”

a criminal defendant “must show both that his ‘counsel’s

representation fell below an objective standard of

reasonableness’ (the performance prong), and that ‘there is a

reasonable probability that, but for counsel’s unprofessional

errors, the result of the proceeding would have been different’

(the prejudice prong).” Rivera v. Thompson, 879 F.3d 7, 12 (1st

Cir. 2018) (quoting Strickland v. Washington, 466 U.S. 668, 688,

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694 (1984)). “[F]ailure to satisfy one prong . . . obviates the

need for a court to consider the remaining prong.” Tevlin v.

Spencer, 621 F.3d 59, 66 (1st Cir. 2010). A court may consider

either prong first in the interest of efficiency. Ortiz-

Graulau v. United States, 756 F.3d 12, 17 (1st Cir. 2014).

     Under the performance prong, the defendant must show that,

“given the facts known at the time, counsel’s choice was so

patently unreasonable that no competent attorney would have made

it.” Rivera, 879 F.3d at 12 (quoting Knight v. Spencer, 447 F.3d

6, 15 (1st Cir. 2006)). This analysis covers all of the

circumstances surrounding the challenged conduct or decision and

requires “evaluating the attorney’s conduct ‘from counsel’s

perspective at the time’ and in light of ‘prevailing professional

norms.’” Id. (quoting Strickland, 466 U.S. at 688-89). Review of

counsel’s performance is “highly deferential” and subject to “a

strong presumption that [it] falls within the wide range of

reasonable professional assistance.” Strickland, 466 U.S. at 689.

A defendant faces an especially high burden in challenging

counsel’s tactical decisions. See Lucien v. Spencer, 871 F.3d

117, 129 (1st Cir. 2017).

     For the prejudice prong, the defendant cannot show simply

“that the errors had ‘some conceivable effect on the outcome,”

but he does not have to “prove that the errors were more likely

than not to have affected the verdict.” Rivera, 879 F.3d at 12

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(quoting González-Soberal v. United States, 244 F.3d 273, 278

(1st Cir. 2001)). A reasonable probability is instead one that

undermines confidence in the outcome. Id.

     When the defendant alleges that ineffective assistance

induced him to plead guilty, the prejudice analysis asks whether

“there is a reasonable probability that, but for counsel’s

errors, [he] would not have pleaded guilty and would have

insisted on going to trial.” United States v. Luis Rivera-Cruz,

878 F.3d 404, 410 (1st Cir. 2017) (quoting Hill v. Lockhart, 474

U.S. 52, 59 (1985)). The probability that the defendant would not

have pleaded guilty “must be substantial, not just conceivable.”

Williams v. United States, 858 F.3d 708, 715 (1st Cir. 2017)

(quoting Rivera-Rivera v. United States, 827 F.3d 184, 187 (1st

Cir. 2016)). In undertaking this analysis, courts do not rely

solely on “post hoc assertions from a defendant about how he

would have pleaded but for his attorney’s deficiencies.” Lee v.

United States, 137 S. Ct. 1958, 1967 (2017). Rather, they “look

to contemporaneous evidence to substantiate [his] expressed

preferences.” Id. When the defendant’s “decision about going to

trial turns on his prospects of success and those are affected by

the attorney’s error,” he must also show he “would have been

better off going to trial.” Id. at 1965.




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          2.    Ineffective Assistance of Counsel Pre-Guilty Plea

     Cheng argues he received ineffective assistance of counsel

in pleading guilty because Weymouth failed to advise him of his

right to move to dismiss the indictment for lack of subject

matter and personal jurisdiction, a violation of due process

because of his inadequate nexus to the United States, and

inadequate notice of his criminal liability. Cheng fails to show

he would not have pleaded guilty had Weymouth advised him of

these arguments. It is unlikely Cheng would have decided to go to

trial had Weymouth explained these weak arguments to him. See id.

Indeed, Cheng admits in an affidavit he would have pleaded guilty

anyway because he feared facing an American jury.

          3.    Ineffective Assistance of Counsel at Sentencing

     Cheng raises a slew of ineffective assistance of counsel

claims concerning Weymouth’s representation at sentencing.

                a.    Translation and Use of Mental Health Records

     Cheng contends Weymouth was ineffective in failing to have

his Chinese mental health records fully translated for

sentencing. Weymouth should have used the records, Cheng argues,

to seek a downward departure under U.S.S.G. § 5H1.3 (mental and

emotional conditions) or § 5K2.13 (diminished capacity). But even

if Weymouth was ineffective in not doing so, Cheng does not show

prejudice because the records do not change the general picture



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of his mental health available to the Court at sentencing or

support a departure on either ground.

     As noted above, the PSR described the two hospitalizations

reflected in the Chinese records. In fact, the PSR provided more

details than the records by describing Cheng’s repeated suicidal

thoughts in 2002, 2003, and 2012 and the triggers for his

hospitalizations. Relying on the PSR, Weymouth argued at

sentencing that Cheng’s mental health was a mitigating factor

favoring a variance under 18 U.S.C. § 3553(a) to a below

guideline sentence. The Court acknowledged this mental health

history, stating that Cheng’s mental health problems involving

mania/bipolar disease counseled against taking his extreme anti-

American statements too literally. Cheng emphasizes that the PSR

and Weymouth called his mental health condition “mania” instead

of “bipolar disorder,” the term used in his Chinese records.

While “mania” and “bipolar disorder” are different psychiatric

disorders, he does not explain why the distinction matters for

sentencing.

     Cheng’s Chinese records (which are consistent with the PSR)

describe two bipolar episodes with significant symptoms in 1999

and 2012 for which he was hospitalized. See Dkt. No. 152-1 at 7

(describing his “rapid speech,” “rapid stream of thoughts,”

“heightened emotion,” and “grandiose delusion” in 1999); id. at

18 (describing him as having “no sleep at night, mania, [and]

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chattiness,” being “emotional” and “physically aggressive,” and

claiming to know the U.S. president and possess “super human

ability” in 2012). However, the records also state he was

“mentally clear” and “able to make decisions” during his first

hospitalization. Id. at 7. His condition improved during both

hospitalizations, indicating that treatment was likely effective

for him. Cheng has received treatment from BOP while in prison,

and his BOP records describe his most recent bipolar episode as

“mild.” Dkt. No. 166-1 at 1.

     Nothing in the Chinese records demonstrates that Cheng’s

bipolar disorder contributed substantially to his offense. See

United States v. Stinefast, 724 F.3d 925, 931 (7th Cir. 2013)

(noting that a court cannot assume a link between the defendant’s

reduced mental capacity and the criminal conduct). It is unlikely

that someone with significant diminished capacity could engage in

such a complex scheme to evade U.S. sanctions, although his

bipolar disorder might explain his outrageous statements. While

the records indicate that Cheng was hospitalized in 2012, he has

provided no report from a psychiatrist or other mental health

professional about the time period of the admitted conspiracy,

which spanned from 2009 to 2011, or records about his mental

health during this period. He also has not presented any

information about his mental health for the six years prior to

the beginning of the conspiracy. He therefore cannot show a

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reasonable probability that, had Weymouth conducted such an

investigation, his sentence would have been different.

     Cheng mentions in passing that Weymouth could have used his

Chinese records to argue that he was incompetent to stand trial.

Although he expresses some confusion about the rights he gave up

by pleading guilty in a post-conviction affidavit, there is no

evidence he did not “understand the nature of the proceedings

against him” or was unable “to cooperate with counsel in his

defense.” Robidoux v. O’Brien, 643 F.3d 334, 339 (1st Cir. 2011).

                b.    Expert on Iran’s Nuclear Program

     Cheng argues Weymouth was ineffective in failing to produce

an expert to counter the testimony of David Albright on the issue

of whether Cheng’s scheme created an extreme national security

risk to the United States. Cheng has submitted an affidavit from

Dr. Aaron Arnold, a researcher at Harvard University and

professor at Curry College, who contends that many documents

publicly available at the time of sentencing raise questions

about whether Iran was pursuing nuclear weapons when Cheng was

exporting pressure transducers to the country. If presented with

the conflicting evidence about Iran’s nuclear weapons program,

Cheng contends, the Court would not have upwardly departed six

levels under Application Note 2 to U.S.S.G. § 2M5.1.

     U.S.S.G. § 2M5.1(a)(1) imposes a base offense level of 26 if

“national security controls or controls relating to the

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proliferation of nuclear, biological, or chemical weapons or

materials were evaded.” The parties agreed at sentencing this was

the appropriate starting point for his guidelines range, and

Cheng rightfully does not challenge this decision. See McKeeve,

131 F.3d at 14 (holding that, where an embargo “is intended as a

national security control,” § 2M5.1(a)(1) “applies to any offense

that involves a shipment (or proposed shipment) that offends the

embargo, whether or not the goods shipped actually are intended

for some innocent use”).

     To determine a sentence under § 2M5.1, Application Note 2

instruct courts to consider “the degree to which the violation

threatened a security interest of the United States, the volume

of commerce involved, the extent of planning or sophistication,

and whether there were multiple occurrences.” U.S.S.G. § 2M5.1

cmt. n.2. Courts may upwardly depart from the base offense level

“[w]here such factors are present in an extreme form.” Id. Here,

the Court found all four factors present to “an extreme degree”

and imposed an upward departure of six levels. Dkt. No. 90 at 16-

17. As relevant here, the Court determined that “Cheng’s offense

threatened a security interest of the United States because he

exported pressure transducers to Eyvaz, knowing that they would




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be used in Kalaye’s uranium enrichment process to support Iran’s

development of a nuclear weapons program.” 2 Id.

     Cheng plausibly argues that Weymouth provided ineffective

assistance by failing to at least consult with, if not hire, any

expert on Iran’s nuclear program to counter Albright’s testimony

on a central issue at sentencing. See Dugas v. Coplan, 428 F.3d

317, 329-30 (1st Cir. 2005) (finding an attorney’s failure to

investigate the cause of the alleged arson and hire an arson

expert constitutionally deficient where challenging the state’s

arson case was “critical” to the defense, the arson evidence was

the “cornerstone” of the state’s case, and the attorney “lacked

any knowledge” of the subject). Even if Weymouth’s representation

was ineffective, however, Cheng fails to demonstrate a reasonable

probability that hiring an expert would have changed the result

of sentencing because the information his expert would have

provided would still have supported an upward departure.

     Albright testified that Iran used Kalaye, which Cheng knew

was the end user of the pressure transducers, to hide its efforts

to produce weapons-grade uranium and that Kalaye was designated


2    Cheng claims Weymouth was ineffective for failing to
formally object to this upward departure in his April 2018 motion
but appears to drop this argument in his motion to amend. In any
event, he cannot show prejudice: Weymouth argued against the
departure at sentencing, and the First Circuit reviewed his
sentence, including this departure, under the abuse of discretion
standard as if he had preserved his objection. See Cheng, 849
F.3d at 518 & n.1.
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by the United States as a proliferator of weapons of mass

destruction in 2007. He noted that the pressure transducers Cheng

sent to Iran were vital for operation of the centrifuges used in

its nuclear program. He explained that Iran’s nuclear weapons

program continued until at least the discovery of the Fordow

plant in 2009 but that, even if Iran stopped enriching weapons-

grade uranium at that time, it had the capability to restart the

program. Significantly, some of the shipments at issue in this

case were made before Fordow was uncovered in 2009.

     In his affidavit, Dr. Arnold refers to public documents that

he states “directly contradict the assertion that Iran was

pursuing a nuclear weapons program during the period of time that

Mr. Cheng shipped export-controlled items to Iran.” Dkt. No. 142

at 6-7. Instead, he claims Iran stopped its nuclear weapons

program in 2003. He concludes that, “while it is true that the

MKS pressure transducers that Mr. Cheng shipped to Iran were

likely used by Iran to enrich uranium, it may not have been the

case, and likely was not the case, that the parts were used in a

nuclear weapons program.” Id. at 8.

     Even if Iran stopped its nuclear weapons program in 2003,

before Cheng began supplying pressure transducers, his conduct

would still have “threatened a security interest of the United

States” to an “extreme” degree. U.S.S.G. § 2M5.1 cmt. n.2. Cheng

provided the Iranian government with pressure transducers that it

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could use to enrich uranium. While Iran may have used them for

civilian nuclear enrichment, it could have restarted its weapons-

grade enrichment at any point. Providing pressure transducers to

Iran knowing they would be used to enrich uranium of any sort is

an extreme threat to American national security. Furthermore, as

Albright testified, Cheng actively supplied Iran with pressure

transducers while the United States was beginning to negotiate

with Iran to eliminate some of its centrifuges. Cheng’s conduct

therefore directly undermined American efforts to reduce the

threat posed by Iran. Because the information Cheng wishes

Weymouth had provided the Court would have still showed that

Cheng’s conduct posed an extreme national security threat to the

United States, he fails to demonstrate a reasonable probability

that the Court would not have imposed an upward departure under

Application Note 2 to U.S.S.G. § 2M5.1 had Weymouth consulted or

called an expert on Iran’s nuclear program.

                c.    Evidence of “Willful” Mens Rea

     Cheng claims Weymouth was ineffective for not recognizing

the Government only had weak evidence he violated American export

controls “willfully” as required under the IEEPA. 50 U.S.C.

§ 1705(c). He explains that he lied about the destination of the

shipments because he thought MKS did not want to sell to Iran for

business reasons. Weymouth should have emphasized the weakness of

the Government’s mens rea evidence at sentencing to show his

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scheme was not sophisticated, Cheng contends, and he may not have

even pleaded guilty had Weymouth informed him of his mens rea

defense.

     In United States v. Murphy, the First Circuit held that the

willfulness element of the Arms Export Control Act requires only

that the defendant knew he was violating the law, not that he

knew the details of the law he was violating. 852 F.2d 1, 6-7

(1st Cir. 1988). The First Circuit has not defined willfulness

under the IEEPA, but other circuit courts have defined the term

similarly. See, e.g., United States v. Mousavi, 604 F.3d 1084,

1094 (9th Cir. 2010); United States v. Elashyi, 554 F.3d 480, 505

(5th Cir. 2008); United States v. Homa Int’l Trading Corp., 387

F.3d 144, 146-47 (2d Cir. 2004). Accordingly, the Court rejects

Cheng’s claim that Weymouth was ineffective for not arguing that

the IEEPA’s willfulness element requires that a defendant know he

needs a license to export the specific goods in question, which

he takes from dicta in a Ninth Circuit opinion discussing whether

the IEEPA is void for vagueness. See United States v. Guo, 634

F.3d 1119, 1122-23 (9th Cir. 2011).

     Given this willfulness standard, Cheng cannot show prejudice

even if Weymouth provided ineffective assistance of counsel in

failing to recognize this defense. At the Rule 11 hearing and

again at sentencing, Cheng acknowledged in response to specific

questions from the Court that he knew his conduct was illegal.

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These admissions undermine his attempt in his post-sentencing

affidavit to suggest he did not understand the illegality of his

conduct. See United States v. Gates, 709 F.3d 58, 69 (1st Cir.

2013) (“A defendant is normally bound by the representations that

he himself makes in open court at the time of his plea.”). The

Government also had substantial, albeit circumstantial, evidence

that Cheng knew his conduct violated the law. He removed serial

numbers from the transducers, for example, and told Jamili it

would be a problem if someone found out about his scheme. See

United States v. O’Brien, 14 F.3d 703, 706 (1st Cir. 1994)

(noting that it is “neither legally problematic nor even

controversial” to rely on circumstantial evidence alone to prove

knowledge). Cheng’s admission in an affidavit that he still would

have pleaded guilty had Weymouth informed him of a possible mens

rea defense eviscerates any argument that he suffered ineffective

assistance in pleading guilty.

                d.    Minor Player in the Conspiracy

     Cheng next argues Weymouth was ineffective for conceding at

sentencing that he was not entitled to a minor-role adjustment.

See U.S.S.G. § 3B1.2(b) (decreasing the total offense level by

two points if “the defendant was a minor participant in any

criminal activity”). To qualify for a minor-role adjustment, the

defendant’s participation in the offense must make “him

substantially less culpable than the average participant in the

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criminal activity.” Id. cmt. n.3(A); accord United States v.

Arias-Mercedes, 901 F.3d 1, 5-6 (1st Cir. 2018). Determining

whether to apply a minor-role adjustment is fact-dependent.

U.S.S.G. § 3B1.2 cmt. n.3(C). Among other factors, courts

consider:

     (i) the degree to which the defendant understood the
     scope and structure of the criminal activity; (ii) the
     degree to which the defendant participated in planning
     or organizing the criminal activity; (iii) the degree
     to which the defendant exercised decision-making
     authority or influenced the exercise of decision-
     making authority; (iv) the nature and extent of the
     defendant’s participation in the commission of the
     criminal activity, including the acts the defendant
     performed and the responsibility and discretion the
     defendant had in performing those acts; (v) the degree
     to which the defendant stood to benefit from the
     criminal activity.

Id. The defendant bears the burden of showing he is entitled to a

minor-role adjustment. United States v. García-Ortiz, 657 F.3d

25, 29 (1st Cir. 2011).

     Cheng fails to show prejudice from the allegedly ineffective

representation because his argument for a minor-role adjustment

is without merit. Although MKS Shanghai employees were involved

in illegal exporting before Cheng contacted them, he and Jamili

hatched the scheme to export pressure transducers to Iran. As the

middleman receiving transducers from the United States and

sending them to Iran, Cheng was an integral part of the scheme to

evade U.S. sanctions. His involvement in the scheme covered the

most of the period of the charged conspiracy, and during that

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period, he relayed 1,185 transducers to Iran and exchanged over

39,000 chat messages with Jamili. He decided to remove the

transducers’ serial numbers to reduce suspicion. He was fully

aware he was providing the transducers to a company involved in

Iran’s nuclear program. He benefited financially from the scheme.

Accordingly, Cheng was “present for the planning of the scheme

and deeply involved in its execution” and was thus not entitled

to a minor-role adjustment. United States v. Meléndez-Rivera, 782

F.3d 26, 29 (1st Cir. 2015). Because Cheng fails to show his

minor-role argument had a reasonable probability of succeeding,

this ineffective assistance of counsel claim fails.

                e.    Distinguishing Khazaee

     Finally, Cheng argues Weymouth was ineffective in failing to

distinguish his case from the Khazaee case the Government cited

in its sentencing memorandum. In contrast to the U.S. citizen

defendant who shuttled top secret information about American

fighter jets to Iran in Khazaee, Cheng claims he was a stranger

to the United States and its laws, had mental health issues that

prevented him from understanding the nature of his actions, and

acted only in willful blindness to the illegality of his conduct.

     Even if Weymouth was ineffective in failing to expressly

distinguish Khazaee, Cheng cannot show a reasonable probability

he would have received a different sentence had Weymouth done so.

Weymouth did argue for a lower sentence for the same reasons

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Cheng contends his case differed from Khazaee. See, e.g., Dkt.

No. 104 at 136:4-8 (“I’m still asking you to . . . drop down

below the Guidelines, Judge, based on . . . the fact that this

young man is from China, never been to the United States

before . . . .”); id. at 163:15-18 (“Mr. Cheng . . . [is] naïve

about the realities of the international world.”); id. at 163:24-

164:1 (noting that Cheng’s conduct “goes quite well with this

mania that he has”); id. at 169:14-170:6 (discussing how Cheng’s

mania “fed into his choice of that particular occupation”). Cheng

provides no reason to believe his sentence would be different had

Weymouth specifically mentioned the Khazaee case.

                                  ORDER

     For the foregoing reasons, Cheng’s motion to amend (Docket

No. 185) is ALLOWED IN PART and DENIED IN PART, and Cheng’s

motion to vacate his sentence (Docket No. 146) is DENIED.

SO ORDERED.

                                   /s/ PATTI B. SARIS
                                  Hon. Patti B. Saris
                                  Chief United States District Judge




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